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                            UNITED STATES DISTRICT COURT
                                    District of Maine


                                                  )
 RICHARD KINNEY,                                  )   Docket No. 1:21-cv-00093-LEW
                        Plaintiff                 )
                                                  )
 v.                                               )
                                                  )
 AROOSTOOK COUNTY JAIL, MED                       )
 STAFF, NURSE ALISON OUELETTE, and                )
 C/O THORN,                                       )
                  Defendants                      )
                                                  )


      ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANTS AROOSTOOK
                   COUNTY JAIL AND OFFICER THORN


       NOW COME Aroostook County Jail and Officer Thorn, by and through undersigned

counsel, and hereby respond to the allegations contained in Plaintiff’s Complaint as follows:

                                    AFFIRMATIVE DEFENSES

       A. Plaintiff’s Complaint fails to state a cause of action upon which relief may be granted.

       B. Plaintiff has not suffered any compensable damages resulting from the claims alleged

in Plaintiff’s Complaint.

       C. Plaintiff’s damages, if any, were directly and proximately caused by the acts and/or

omissions of an individual and/or entity other than these Defendants.

       D.   Plaintiff’s damages, if any, were directly and proximately caused by a legally

sufficient superseding/intervening cause.

       E. Plaintiff has failed to mitigate his damages as required by law.

       F. These Defendants are entitled to qualified immunity.
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            G. Plaintiff’s claims are barred by provisions of the Prison Litigation Reform Act,

including but not limited to 42 U.S.C. § 1997e(a) and/or 42 U.S.C. § 1997e(e).

            H. Defendants are entitled to all immunities available under the Maine Tort Claims Act.

            I. The Aroostook County Jail is not an entity that can be sued.

                                                      ANSWER

            1. Defendants Aroostook County Jail and Officer Thorn deny each and every averment

set forth in Plaintiff’s Complaint.1

            WHEREFORE, these Defendants pray for judgment in their favor against Plaintiff, plus

costs, interest, and attorneys fees.


Dated: April 30,2021                                               /s/ Peter T. Marchesi
                                                                 Peter T. Marchesi, Esq.


                                                                  /s/ Cassandra S. Shaffer
                                                                 Cassandra S. Shaffer, Esq.

                                                                 Wheeler & Arey, P.A.
                                                                 Attorneys for Defendants Aroostook County
                                                                 Jail and Officer Thorn
                                                                 27 Temple Street
                                                                 Waterville, ME 04901




1
    In that Plaintiff’s Complaint does not contain numbered paragraphs, Defendants can only provide a general denial.
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                            UNITED STATES DISTRICT COURT
                                    District of Maine


                                                    )
 RICHARD KINNEY,                                    )    Docket No. 1:21-cv-00093-LEW
                        Plaintiff                   )
                                                    )
 v.                                                 )
                                                    )
 AROOSTOOK COUNTY JAIL, MED                         )
 STAFF, NURSE ALISON OUELETTE, and                  )
 C/O THORN,                                         )
                  Defendants                        )
                                                    )

                                    CERTIFICATE OF SERVICE


       I, Peter T. Marchesi, hereby certify that:

       ●      Answer and Affirmative Defenses of Defendants Aroostook County Jail and
              Officer Thorn

has been served this day on Plaintiff by filing with the Clerk of Court using the CM/ECF system
which will send notification of such filing(s) to the following:

              None

       Copies of the above documents have been provided to the Plaintiff via United States
Mail, postage prepaid, at the following address:

              Richard Kinney
              Washington County Jail
              83 Court Street
              Machias, ME 04654


Dated: April 30, 2021                                     /s/ Peter T. Marchesi
                                                        Peter T. Marchesi, Esq.
                                                        Wheeler & Arey, P.A.
                                                        Attorneys for Defendants Aroostook County
                                                        Jail and Officer Thorn
                                                        27 Temple Street
                                                        Waterville, ME 04901
